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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                      11/15/2021
 Brenda Ryan, individually and on behalf of
 all others similarly situated,

                               Plaintiff,                 1:21-cv-04485 (GHW) (SDA)

                   -against-                              ORDER

 Straight Arrow Products, Inc.,

                               Defendant.


STEWART D. AARON, UNITED STATES MAGISTRATE JUDGE:

       It is hereby Ordered that the parties’ proposed briefing schedule regarding Defendant’s

motion to dismiss (see Def.’s Not. of Mot., ECF No. 31 (setting forth proposed schedule)) is

approved. Plaintiff shall respond to Defendant’s motion no later than December 2, 2021 and

Defendant shall file any reply no later than December 23, 2021. The Court will consider

Defendant’s request for oral argument following review of the complete motion papers.

SO ORDERED.

DATED:        New York, New York
              November 15, 2021

                                                  ______________________________
                                                  STEWART D. AARON
                                                  United States Magistrate Judge
